Case 2:20-cv-11666-PVC Document 33 Filed 11/23/22 Page 1 of 1 Page ID #:2105

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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   JESUS S., 1                                   Case No. CV 20-11666 PVC
12                        Plaintiff,
13          v.                                           JUDGMENT
14   KILOLO KIJAKAZI, Acting
     Commissioner of Social Security, 2
15
                          Defendant.
16
17         IT IS ADJUDGED that the decision of the Commissioner is REVERSED
18   and that the above-captioned action is REMANDED to the Commissioner for
19   further action consistent with the Court’s Memorandum Decision and Order.
20
21   DATED: November 23, 2022
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23
                                              PEDRO V. CASTILLO
24                                            UNITED STATES MAGISTRATE JUDGE

25     1
         The Court partially redacts Plaintiff’s name in compliance with Federal Rule of Civil
26   Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
     Administration and Case Management of the Judicial Conference of the United States.
27     2
         Kilolo Kijakazi, Acting Commissioner of Social Security, is substituted for her
     predecessor, whom Plaintiff named in the Complaint. See 42 U.S.C. § 405(g); Fed. R.
28   Civ. P. 25(d).
